

Matter of Shaw v Lee (2017 NY Slip Op 07899)





Matter of Shaw v Lee


2017 NY Slip Op 07899


Decided on November 9, 2017


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 9, 2017

524125

[*1]In the Matter of BRIAN SHAW, Petitioner,
vWILLIAM LEE, as Superintendent of Eastern N.Y. Correctional Facility, Respondent.

Calendar Date: September 19, 2017

Before: Garry, J.P., Rose, Mulvey, Aarons and Pritzker, JJ.


Brian Shaw, Napanoch, petitioner pro se.
Eric T. Schneiderman, Attorney General, Albany (Kathleen M. Treasure of counsel), for respondent.



MEMORANDUM AND JUDGMENT
Proceeding pursuant to CPLR article 78 (transferred to this Court by order of the Supreme Court, entered in Ulster County) to review a determination of respondent finding petitioner guilty of violating certain prison disciplinary rules.
Determination confirmed. No opinion.
Garry, J.P., Rose, Mulvey, Aarons and Pritzker, JJ., concur.
ADJUDGED that the determination is confirmed, without costs, and petition dismissed.








